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Case number: 3:21-cv-08458-LB Jackson v Target Corporation

Dear Hon. Judge,

I would like to file this motion to Take Deposition on the Defendant (Target Corporation), plus
“The Security Team” responsible for the Live Video on the date of the “ASSAULT & BATTERY”
and “ALL” the Defendant’s (Target Corporation) Witnesses.

I would like to complete all Depositions before the end of February 28th, 2023.

I also need the Court to consider, appointing me a FREE counsel because I am NOT an attorney, I am
only a PRO SEE who needs help preparing for this trial and for trying this case against the defendant who
has a wealth of legal expert.

I am not working and do NOT have the financial to hire a lawyer to help me with this case therefore I am
asking you to please appoint me a free attorney.



Bryon Jackson, PRO SE
